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                         UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL by the OIL RIG                *
       “DEEPWATER HORIZON” IN THE              *            MDL NO. 2179
       GULF OF MEXICO, on APRIL 20, 2010 *
                                               *            SECTION J
                                               *
    Relates to: No.10-8888 Doc. Ref. No. 63576 *            JUDGE BARBIER
                                               *
 Vessel of Opportunity (VoO) Contract Disputes *            MAG. JUDGE SHUSHAN
                                               *
*******************************************

STATEMENT OF UNDISPUTED MATERIAL FACTS IN SUPPORT OF MOTION FOR
 PARTIAL SUMMARY JUDGMENT ON THE ISSUE OF LIABILITY FOR BREACH
  OF MASTER VESSEL CHARTER AGREEMENT, VESSEL OF OPPORTUNITY
                          PROGRAM


1.     Hoi Nguyen is a shrimper and the owner of the fishing vessel My Angel II, homeported in

Biloxi, Mississippi. Exhibit 6, Declaration of Hoi Nguyen, ¶ 2.

2.     On May 12, 2010 Hoi Nguyen signed a Master Charter Agreement with BP Production

Company Americas, Inc. for the hire of the My Angel II. Mr. Nguyen only reads very simple

English and the terms of the agreement were explained in Vietnamese at a meeting at Point

Cadet, Biloxi, Mississippi. This Master Charter Agreement was assigned the number 58060.

Exhibit 6, attachment A. The Master Charter Agreement was supplied by BP and presented to

Hoi Nguyen for signature. Id. ¶ 2.

3.     The copy of the BP Charter Agreement which BP returned to Mr. Nguyen had blank

pages in place of pages 2,4,6, and 8. However, the Charter Agreement is identical in all other

respects to the form Master Vessel Charter Agreement which BP supplied to all other parties.
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4.      Under the terms of the Master Charter Agreement the hire for the My Angel II was

$3,000 per day. Exhibit 6, Attachment A.

5.      Under the terms of the Master Charter Agreement the vessel was paid for crew members

at $200 per 8 hour day, and $300 per 12 hour day. Exhibit 6, Attachments A and C.

6.      From the date of signing forward, Hoi Nguyen held the My Angel II prepared and ready

for use by BP. Id. ¶ 3-4.

7.      On or about May 14, 2010, Hoi Nguyen and the members of his crew attended a four

hour safety training class in Biloxi Mississippi in preparation for undertaking their obligations

under the Master Charter Agreement. Id.

9.      On May 30, 2010, Hoi Nguyen was instructed by BP to depart Biloxi, Mississippi. From

May 31 until mid-July, 2010, the My Angel II was out on the Gulf of Mexico, or was back at the

dock. Id. ¶ 5.

10.     In mid-July the My Angel II was in Mobile Bay, and Hoi Nguyen was instructed to “get

your boat cleaned and go home” to Biloxi. En route back to Biloxi he received a gross

decontamination from a barge located near the Dauphin Island bridge. He did not observe any

Coast Guard personnel present. The area in which the boat was cleaned was not boomed off.

Mr. Nguyen did not receive a certificate or other document. In fact, oil remained on the vessel

and lines on the vessel following this gross decontamination. Id. ¶ 6.

11.     Under the “Sector Mobile AL Deep Draft Vessel Evaluation and Cleaning Plan” [Exhibit

6], “a contaminated vessel owner’s representative must obtain the Coast Guard Verifying

Officer’s final verification of decontamination.” [Exhibit 7, p.9]. This language is duplicated in

the other documents setting out the strategy for vessel decontamination. [Exhibit 8, Mississippi

Canyon 252 Vessel Evaluation and Decontamination Plan, Louisiana, at p. 18].
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12.     About July 18, 2010, My Angel II returned to Biloxi, Mississippi. Mr. Nguyen was

apparently given a document to sign which is titled “Off-hire Deactivation Check Sheet.” This

document was filled out by someone other than Mr. Nguyen. Mr. Nguyen confirms that his

signature appears on this document, but does not recall the document or how it was provided.

Mr. Nguyen can read only limited English. Exhibit 6, ¶ 7.

12.     After July 20 the My Angel II remained in Biloxi. Pursuant to the terms of the Master

Charter Agreement, Hoi Nguyen did not use the My Angel II or hire her to any third party, but

held the My Angel II in readiness for the exclusive use of BP. Mr. Nguyen continued to send

invoices under the Charter Agreement. Id. ¶ 8.

13.     Mr. Nguyen did not receive any further instructions as to the disposition of My Angel II

or its operations under the Master Charter Agreement until he received a letter at the address

stated in the Charter Agreement which stated that it was “Off Hire Dispatch Notification” and

the charter was terminated as of August 27, 2010 “pursuant to the terms of the Master Charter

Agreement.” The notice further instructed Mr. Nguyen that “if you have not had your vessel

properly decontaminated and an off-hire survey performed please immediately contact your local

Vessel of Opportunity Coordinator to schedule your off-hire survey and decontamination as soon

as possible.” Id. ¶ 9, attachment D.

14.     Shortly after the Off Hire Dispatch Notification was received, Hoi Nguyen was informed

that the My Angel II was on a list at the Point Cadet Marina in Biloxi, for decontamination in

Bayou La Batre, Alabama on September 16, 2010. Capt. Nguyen called a person he knew to be

working with BP and confirmed that the My Angel II was scheduled for final decontamination on

that date. Id. ¶ 9.
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15.     On September 16, 2010, the My Angel II was decontaminated in Bayou La Batre and

received a Verification of Final Decontamination from the United States Coast Guard. Id. ¶ 9,

Attachment E. At the time of this final decontamination he was instructed to take the lines that

had oil on them and bag them and dispose of them. Id. ¶ 9.

16.     On September 17, 2010, the My Angel II returned to Biloxi and was safely moored. Id. ¶

9.

17.     A few days later somebody apparently connected with the VOO program called Mr.

Nguyen and told to send an invoice for ten days. However, Mr. Nguyen had already sent

invoices for his time per the terms of the Charter Agreement. Id. ¶ 10.


18.     Mr. Nguyen was paid the charter hire for one day for the training the vessel and crew

received, and for the period of May 31, 2010 through July 20, 2010. This payment for the

training and daily hire was a total of $208,340. Id. ¶ 11.

19.     Mr. Nguyen was not paid charter hire for the period May 15 through May 30, 2010.

20.     In October 2010, BP paid Mr. Nguyen an additional $34,200. This amount is equal to 9

days of the vessel hire rate with four crew members working an 8 hour day. In March 2011, BP

paid Mr. Nguyen another $7,600. This was equal to two days of the vessel hire rate with four

crew members working an 8 hour day.
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21.     For the period from July 21 through September 17, Mr. Nguyen was paid the agreed upon

charter hire for only 11 days, rather than the 58 days in this period.

        This 15th day of September, 2011.



Respectfully submitted,



   /s/ Stephen J. Herman                          /s/ James Parkerson Roy_____________
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                                 CERTIFICATE OF SERVICE
        WE HEREBY CERTIFY that the above and foregoing Statement of Uncontested Facts will
be filed into the record using the Clerk’s ECF electronic filing system, and will be served on All
Counsel by electronically uploading the same to Lexis Nexis File & Serve in accordance with
Pretrial Order No. 12, this 15th day of September, 2011.


                                                 /s/ Stephen J. Herman and James Parkerson Roy
